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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI

NATIONAL RAILROAD PASSENGER
CORPORATION et al,

                                Plaintiffs,

v.                                                             Case No: 2:22-cv-00037-NAB

MS CONTRACTING LLC,

                                Defendants.


                         MOTION TO SHORTEN TIME ON HEARING

         COMES NOW Defendant, MS Contracting LLC, by and through their attorneys of record,

McCausland Barrett & Bartalos P.C., and requests this Court to schedule an expedited hearing on

Defendant’s Motion to Stay Litigation Proceedings Pending NTSB Investigation and allow a

hearing to be held prior to July 22, 2022, pursuant to Local Rule 1.05 and Federal Rule of Civil

Procedure 6. In support of its Motion, Defendant states as follows:

         1.      Plaintiffs filed the Complaint underlying this action on June 30, 2022.

         2.      This Complaint is based on a train/truck collision wherein an Amtrak train collided

      with a truck operated by MS Contracting LLC at a BSNF grade crossing located near Mendon,

      Missouri, on June 27, 2022. Due to the nature of the incident, the National Transportation

      Safety Board (“NTSB”) immediately undertook an investigation.

         3.      Defendant has filed a Motion to Stay Litigation Proceedings Pending NTSB

      Investigation because Defendant is a party to the NTSB’s investigation and, as a result, is

      specifically prohibited from the release of information obtained during the investigation.

         4.      Defendant’s Answer is currently due on July 22, 2022.




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        5.      A ruling on Defendant’s Motion to Stay Litigation Proceedings prior to the

    Answer’s due date would prohibit the release of protected information.

    WHEREFORE, Defendant, MS Contacting LLC, requests this Court to schedule an expedited

hearing on Defendant’s Motion to Stay Litigation Proceedings Pending NTSB Investigation and

allow a hearing to be held prior to July 22, 2022, pursuant to Local Rule 1.05 and Federal Rule of

Civil Procedure 6.

                                             McCAUSLAND BARRETT & BARTALOS P.C.

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I hereby certify that a copy of the above
and foregoing was emailed through the
Court’s efiling system this 15th day
of July, 2022 to:

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